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Case 3:19-cv-00817             Document 1            Filed 09/16/19           Page 1 of 18 PageID #: 1
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       •.On_bll.! oll,z✓hen fhe o£f-Gets 'L,ly/l~~Rs GC~V;fr~:n ~+A Gf1 vrf`ur►:f Gar+G GtlO+ancl ~a rwy

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 Sc flirt ri iSs,nls, /Vo L. f, r-Apf ;n, War~g un:></rZcr.r 3 /' /k'4¢•1~S Car++/>l4%n f3 8.1e~rsesf wGl r511u/2c~.

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Case 3:19-cv-00817
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                                  -1,                             n                                                                 G                                    he_ kW1•:fev;ll

                         d             ;Gn                   `;        `H     GG      ,H Wh•`        d G.`nt~.~         G      rLaMS~C/i~'d-4 / ✓ /               Sf Cc!< ch i            1


                                                a            ov.       oc,          %1 74A.,144Y. The                       4.:nf:l* Th        s 1-14-1

                             r       af                      Gt,onal CGN'u l)lox S:fe                                                       oc"..;Zolb.

                                 u.IfC~              ~~.` rt                fake. T             "o/ <ec ion 1 Gene-l.                                                .

                                                                                         B7rq..,sd,0a Tk/net Got<eG~•~rtr~! G -~r.%l rlefe.+clantS Ahe;r

                                    st.- eCYlin~S~ 1~n ~1 ~mnl
                                                           ~eyees c t!r f%•nes pelf• neni fa :/he 5 f-44"On                                                n 1.,`s r-en       ie.;nf /l4VL

                                            /        /        ,`s                                                      h VoW                O14%~~ ,~{ T cri i 4 5 f~ ✓' 31G'la CAS
                                  LhLG` 4'im             G                                    dt4iY of Gd/                          w


                                        ea `n,>1~fe.1'Itc:nf:•~#'Th fd~'__~~`~345 6a sr.4nc/leiiS inG~i/G~rtfeo~tcnGde./C.~racfi`i,`cn5 Jr.S;n

._                                 ,'h4l ti.SdG Of 3 g                          1t4/_r~olG~~t `✓GG'f I~1G:n¢,`f'FaF fhe wr:n•ir.a/

                             G2SS;ffBS_• G! 2x4 p1e ~k:n,i. Gf 7ti o,»4 s t~331G71 8 .1nr>1F~ o 4lsvtll {~4 vG bee., o/en: ev~ fha

                             e8~.w}e p!}GGf•G✓i cowl ~f /11/aG/( fo ff/vajl.2elfo Were- ~{g,t;P.U_SLLGwe~/S ~tcM ¢) tOJC• fj

                                        ~ra)c ~/~JrIo2Gdy~• (✓G.5 oden;aaf ~r,~:E/ ~<am ~' /ll /.015 t-,.~.i~:! ctl~l~r~.~t S: ec: un-i. o,-r b'//3/ oZ~l~i

    _                                       / l      ad            )/4;nf: ~Tham45               33167        <eca; ✓         a

    -- --_-- - -     _       ~rmn_(Q-~ ,`.lS~__r►,a                          3ext~41 hreu s irw4rdpir%nit%IW Tke.H46 a.rw" f                                 41Asv4/1 1#'445 .Thy

                                                  ~' /' u. tt                             ' O~f CUlj 44d b&HO-t ~l•+eck /-kcse. Warn Gu.f C.SS 1'161 GS !/1
                                                                       kh&ILbanll 4.5.5 hO~

                         e/`ift G.e.ry WG-rn o,..f oss hades                                                             / .L' meu+r !,                                   ~

_                                pJ)l.u~ ~j ETW~P
                                                Cn 'l~1aG ~.nG/ GGUNT Gv~                           S lt~      ~i 44 C 1.swk A"m e- ~          Cx         q S "' 9, pen GGUKT W12Cr1

                              .L        L                                    WG/IG`n5 C14 J9.0,//        -1 B.he Glinze 4/G+...+e~ Gheek;es celA olo rt                          1 :nL•iF

                             or-s               /,ew            ~%           h.`5 ;to~     $ ful~ ~i,`yn .`/ L✓43 /)/C~ issue_~ fh4f                          /4•h~•FF_Tkcr~as d
                                                                                                                                        r           Pw.SSftcllGc~he~G~~e11                    he+rn,
    --     --   --       Nrn~fG-GG Svtill / ~ttiES~Ccf_7~t~.,$~el./Gln.;fd1 y`hG G4 k,'Il.OT~'•GP./

                                                                                   nerr•m.                    104,k- L-1) o,FF:Lei GGw:s
                                                                                                  [:G14-tie—Lo—                                            c~uszJ4n~ 3 cheGk;n ole<;!s

                              k-<ivt                                                      c            lcs;       .'     hGwa       4s t      h;ni ,` '    e was CV &;o? er Sh,' f

                                                                       d lvo                                           ~~t                      sti,       su                      7L~;h d

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                                                   he     iLn4-- e..X-i4Al nyfes fh4i d!G                PIEZA iSSue 8 P14,nilft r1uM45 N4-331671

                     we ih~vY,_}ham                      pie _~+~ ya} [.i~_c~e~_/~: S Gel! r/ac•r 6v~            / /otol 5 of ~,i)i)         ~- G : /S ~m . O a fly.

                      L4. 8 /!Gw«l e ofT,-Ce✓ Sc,;el "6 e-j w,'/h un:f                                    —e-:n5 :n ¢k~ ~+icrn; ng} fh ere'S
                                                                                                      Ana e,                                                             o4Ae,'

                   e, 5G f             -l&       ah     /e, }Ac. ' _wh / we're GheCl[;n4 doc•,Ilf Alf/G' A,'                 a14.n         ~'7hor~ ►4s Gtll-r►+4fE


                                                                                                         e-nc         &,-,     o/c/    J.E ~USa~t whc, •Yn3w
                                                                                                                                                                                    i
               ,
                L ~4te- 4 PAC-A, 2S.5uet $ Shc_never I-esar,ncie e✓ 1j4G1~                                      la,`n i.` ` 7h40n45 XAowe-d

               ba-,ce.-Lew;S                             a e' :n            6yeprdr/. The., e-i '//S/.2cil,           lk;ni.{¢Thcr.~4s_e✓ sr;61~~M :ve_

.Ikeno{e. a "e! e%✓ii /Lest.S'/Le.f"crkejf .f$ yc+v_e-,F fo c~vi:flK4v►a ems/ ~etk:nS.

                                  /                          d ~3ol~r»„ !J!`:nf ,i~'7kc,s-i45
                                                  r'/~)rGX ~-r                                                   6GB:Veal unol6t i►.'S G /e c%a/ GI9                           4'


                               LE %n~                    ~4y~ t /~:E MA✓t lagg/C. Ya4, 1 lvhoreS 5A, bch;na /317,,hes e, 41                             n

                           tv f yee4,r                u 4,/          W,`               hz 4ine -42W W:/ ! be Gar++:07 Tlrr /l+rm ci55 /ic/e , T/+,S               {►i~     in


                                             A-3 lheLddc el d pw n cs"t sec, whoCaeei."' Then                                                   f      /NoX.     ar.+.


                                      Mcm ii                                                                          n.'      h 'r C a 11 I!e"-nol a 3rde,

                     ;n   % 14. eek w6 lonow r,                       re. p            As                                                           -C, b+..cks k.Y e.

               lei                o✓~_Ei/f...We ft%%rly fG' i'~'1 lil<t~.. l~_Ir~f~ I~X~J.Mn1•_e_          u•     bAec5 _~Gn>f
                                                                                                                           _ <x ^ L✓'~' G5~P1~

                           L                             h el `                  Enne—Jlee _f'I - W4 L46en LA4,6fi."'            I4;I9P":!5 GoM R~                 5 Gl(



                    In k                         ei Go                G 5L' i          Dowfeeiol4all W o        4%nl:f 9hGrn45             3316'1        to )arfGclq,,,/~pi

               Is ad /e or/.'n                   ke 2          -L         hre-445//i4/4.4 stnent fo r4.7Gd J- bro1)e-r(1 8 A%~rk~elr leSu.~cf an.//c

                Gje j                                   /e pgadf~5r+%~ti~efEt/4ssixen~.Th~..sT~:d/af:n                                 h~      r,`3cn/tc, )C.




                                             G1                           3 oZG/                 n ouf          Lt enG-'      S con c et/               ke.t Gc»         c'l


                             ,'                           ~/        auS         un                  'a a    e                hcH k         c.4.5L/       7urnG/

                                                               ac,' 4,*el X v A ; c               Mf.N             on/+ 11 / e/        ca,"a- 4o 302

                                                                                                                                       /            /
                                        Gr 46. A10 C4a-!P-A rJ' l~/er g- TC[/c&,, TG kvt&G V~ /91 a.;n J.'FT +e-                             e- GN sTO~ a          n


                   4' wg. PLA*                                                     r                                ie✓e                   UK               r. l d01      )La-

                                                                                                G                     e,^ R14;#2bWhcrwrcS 2nrn

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                                                                                                      f-GkG,q rr► e, at!-
                                              ms
               ~e._~.Q_~SeJl~.a_n~_~~-~ _~~t~~lu~+~~ L~._'.S~f~t~1 ~! L 4a%~1~!1~1~CtS_c:/ ~6//Cu-,S L✓.Ei ELF ,Z S o%                                             f


_          ~     Ic      f)hG»e. ~6 Cin ind:v:e/u_G_L~hcz_Gi~t~._sc~r,~~/o~~                                     s~ _.~q(d iclen3ifieG/ 1+_e,/Se!           d un.'f

_              t1a~e!-i25 Srw'Al,                                                                        1'icr(/al~_~~fs~.Z3/do/7.T!„S r► -e

                    G             ~l'ti_1_L► S, St+-► ;%I, ~lL D/cyG~ df,~l.»~,,_[Q~~ Gd(.sr►1 11,i+1B. 7'h~ or~/~3/~tGly ,c'l_

                              ~              ' 'P'1'►Gw,CiS *1 3~~7 ~ c~ .l'NM4tE UGt~SV"4/l                           -    Lr Cn /•G       L -

                                                   v~ can nnG.fGrn.:n:Ca/!.~/G.,•n7{r~~' Tf+asrtc'if ~Snma/~ OGfSV4//WCr~'                                      4Ger./ '


                        CC-am A • .~1rt< _tErr.Je!!~ ~X~ m~/dyC / /YeS17 G/! Q!G•unC/ fl+e lcu.z~ d the /s

                        a/ n ~S fX r,~.~tl,                         u,+~Gn ~~                ~~/~ GVe/.fhs,          ~iG[•.h ~7c~~Lw~IL/~:n1~f GI,                Srh 1e,1 Sv

    '                                                 +-t                 fi.fli• ~lG,~rt:•FFT1zGwi45#331G~i~2 ~ ,Z~r'~5,~~~1u~,t̀ (/~                    re o

                                                                         Gler~if:cnS.ThP~ Gf{e! yla:nl,                7hom45 d 111,10              v

                              V.Xol9 . 4 emmg 6-6:1.512m u» -FziotGnt:~ielp elLns 1"ic pJe#;h44-f_j/few-4S 21

           in       e, eaisvalt                   erSx &i Vn coed.*e S t,✓ct.~,:,~ /o~ra                      1`a f3u,ld,.,a~~ //gin%ft~l _~~!!

                  `n      f        G .'VeiGt,,,SFGc%.Taavr~4~%ran.                                                                           ___

                G                 . :                       :       ~               ; w ,'        ,~e/,%S ~ de /)/'G'feGfCc/ Ono/ /gqu.GS~I
                                                                                                                                         _;r~ Po BG~.•v




          n                   l L. 145 EX                           e/ty~Gs ' SJ G//eel l:kGL►otl arnGn u/;»e, w,#~. t,•r;nt c"he- W /S

                              ~•`1~ SiriL',11f1                     ej    ~i~                                                                        cl1         G

                        -felrall Pu,/                                                         c-cltr-,                                     ) SeS.gee's r+                  le

                                         t        k             v              I'                                :          hams isnl 411,elve-d e, o/

                .,

                                              y             '.` ~F%~.'S ~e~,:1 •ir-ays ~~~ke whcte, weefc of Senfe,,,~wbe/ %Sf 4nel                             k~ !tee ./c
                                                                                                                                was ~G~a


                                              ClfAn,4                          ,'                          r /         GG                   fG             G~

                                                      G '                u          w    li.h ;      hem"        33104, 14; n L              G     : ve          , .5           es

                 G                      vu '                                                                                    u    1 ;n                 GG     %nuecl




                                                      r                                                               n;    9        ,'                   "ef i 4 )m

        Case 3:19-cv-00817
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  JV         L 6 Cgl- C L &rm 5.

  1, D           clnfs uie iG.inl~'lncl SevEre __
                                                l.`rble f le[4.,n                                                           n LirreS c, ^ el .11 is 5.'G 1 d4                             ffeled

                              l by ~kt~lu:nf. fl ~tiaf wer                                    re X%r+~4~~              e~l6yfhe d~fe~acl~nf5'ne I.' er~c                              c: "d

     1;
                                  ~r ^/
                        l nG~r'Y~' eras i4ee-

          ed lkz vuenle et4s 11 11:6 &-rnGe- erne! dal. tel !e :A W,` '!`er'ence, dEas d ateAn dan fs ccnsEi"ieot

   rO.4Sel AJjA1jj4iAj                                u.nG~ c.n~WtGn.x~{ ~_ eticl~t .a~E/ibG/kfG atnct W
                                                                                                       sCn~vn ~`no% ~JE,rIG~                                                          l4~




                              ! of r i-iz g,,.ic~o of a Sub5&,s rl r,S~~o~L Sew%o.•s !h                                                   rai v {I+e PJ.'z of.f(S.S                  of

                                                  j -4scn4 bl eiG
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                 ;n A e                              y u                   o                  jr,,als e,f he,      in"4         t e< 7&.rnC/       //ee,*,ina l c en VC.4 a.,

    cre-                           afee /.'d~l~ i .n~1[~r !1+
                                                          __ e                              f!~ 0,24a l a"de-entk 61`J) fI~►'~e»aJi Eae                         o~          per n

   uJndilP- COJAIJ44VII

                        /         G                            u pct,
                                                                   T _t GT)e~ 0r•



    Anial 4hGr                                 ►as                            iou '              :V                    dJ        ,D       G h      14,n 4,'J                6f'
                                                                                                                                                                              e AgaS


         I t, a                                       G            4k G , Cc'P`F• , G P.              1'     7                        d         in./Jr

                  k           ;                                                        inimA/ C~ ,'LJ.                            t~/e5 G                '              S       ,'

    e                                          n                         ;vaf:orf6eaeg.                                                   G or           h     ti           z




          t..1                                              Ave-    rt                 in        s 44cl;1 r             S       c 4<j t✓h.`cL, Ccn ~. iK~e infenf•`cn /

          G .GN                           r.       .O✓1 J          re S U                       !/1 .

          4l p l k ,`,44                       D►G-?TIC/.Z wG                               e : Ve-d             .'s ,` h fs G kr e            G cu r'e1 •     ra¢ec~eo~

    e~t ,irG~                     5e"5 hf                                     rG        i/L           ion                   E                  vefte

                                                                   Gr     Aee,          Gr Ike-            a l~ G ~G                           / ~ in~,        2/cyr►G


           GVN          iN                                               }k

    7k44- A a d ,(6 Ci                                    P,                       - ;L3e N.GlSGvrn~ of Agve-,~I.. ! .a4, FA,-
                                                               -'r-tife ieSuJf a!' &                                                                                                      f

  ~kl XGeA It -6641,                           ,` P                                I                              d :SGc~rl w'a                  hers.                          him

                      14"e'           I'                                           Ad          G iC✓iG l            /' ~.'3
                                                                                                                       `    4              i             S          o

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                                                                                              G 4G    d ofA1.
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                                                                                                                   e&41't"dGn7
                                                                                   iG
                                                       a'F Gle46n eimb_ herl in c . ~~~ e l~,f and Ae.z fA;t-le, #o le~s~n4~/y~e- Ce,4

                                  Gc~S Gc+1 ~ f fcwarclS ~kL lsl c.:n~:~~ 7Hc~,q.~S a~~3lG'I.Z.~lin.~ GcnS~L•`~•~~es l ,'ttl ~ cr nc• ~~•~'rc~

                     4c, h.1-APYL E3 1 ,.~e,                     ihL 5~ 1~~'-4_f' J~lae 1)l :nf•                                                                 -

                              Th4 41. e. leecftnent a YEA e_ n[a:n4 4' bl the_ de--Fencl4nts amd",45 4e, b ewirgl•t E ce:vcf[n¢
                         of       G to nab i5_af ~Y.S:Ve 4G 4yi ✓+GclN n 5kn~4fo~o{ uMtt„/ ~, !~•t`


                              Tit k a. is 4 s ~z`r}5cta                     ,sk f'S~•ewS harrn in Caie cae;c. InGr _-n
                                                                                                                   ti fou5cf /GTurntf

                         u            i          G n4e! F                                                              in        ! /        4tren '✓t 4


                                      v.                        rG       le- rufri                    cept4er h4Ve, he-e ? qAj rcn,E:nuG A& 6 (-2         k5~,

                          CL      "       1
                                          -      ;r.       lG         ouS inWlcffe--an-inrvt~c "V~"olence.7'h.`5 SL:bSfanf•4/l,sk.~,F S4riaus

                     L    ek" k                          /G          S. t!!) Gw~G_,y:c pse.• ondt s l               t.rner :rre :on ! ce.z~e/ r~ no

                                                                     ra s°S{~or» v~twlr► e~4bl:hS~f~S f orflar~ eh~fer.vtew,bers a~'r,/ _..

                             v~ ,~ Gee ~,cr~see in heSa.n~ v.:JS anc! { rG t~ c_~4f~,5l,cwei u„o!eXerc;5a #oyetkq L..;~1,__

                          ~n-~~n3 c~'I;kf.~~+e.rn~~S_-,~nw►~~~~~~s~fb~e~~~ Pv~~~t~ti~K_~~ita~~es cr~na
.s         -- - _-- ~! GI4ff'~ ~r ~7('a~p.,!/y'c~:SG~I n~c.~, Ca1 G~✓~ c.'~i.'c ~~~ ~~usel4le_ u.rnerGet/ee+(,'ars~_~~nfe~-
                     I
                                              L-tnjer5           d . Tai—c'_-;3 6,iV one- Gcrrecfianul off—Gel t„a d.•.ty

             ~._          Yt~~ld~_ ~~! t°~l}~Stl6i lnte~4Pr~£. J_!1 C4 t~l.r2it• -Gt~rs ~F4! GnGf----~I'Gu5r~R1~'lfdC~le/'

                         e►~,~e/ ct~, no nlov_,o~e f.~~~~~.~~t~-Sf~f~~.G.•~~1 ~~,y~~n~~'~. ~~~,...~,~;,~}he_
                                    _~f

.     __                      %Ge             l~II ~y f~.Yei fu ,5:.+~e/v.~5er ; n,~.afei I: vans celB45 /un•tS~,, ,'S G; ~(: ne inm4~eS'

                              v       i       pH4 ✓~~U/ /'c~fr~/tc~e~,~tt~ely.~~r.5~-cf{',C;enfls~/es~G.~.d t~ ev~+er~enc.'eS l,'k-e,


.                _                  B -cn               g~ k SSGu/,{S, b//P_4L~eSf7cr/©f~°Cfcyv .CuSfoc~r. l3~ 'Cole                                e,nc./

                     T"6LA3d41f,Lvnel G~~eGfr~~41 Center Lave :Je~l :w,~~t~meref-__clew
                                                                                 ti     ft L✓ek~cr1ra/ _
                                                                                                                         S'hank S CA.0 "2w+ke`e

                     Ind GikerWAS rt A.5 a /Gsw iirimedeS va ire_G,`vG *rNGi ci n~_Trau3d4/°
                                                                                           lam T~•~ner c~r~ec~!,ons

---                       rae/ AAve. fj"✓.4kje, fa Ale-44ev+_ ziat;,C CI S.SI.0 if 04ke/ 'n,•. 44e-s c."'A SG~C~t- i.,
                                                                                                                     " Jo✓ s ;,n
                                                                                                                          -




                                  n ~y[,;%n7F%L~JG~cw►°r to.'" W45 riSSe2ulFec~~rs. ~/lt~;,2uI ~/. 04) GerG G%4 ,G 7,aG. Land

                          wSdL~l e, 7c.rnei 4 G!/~Gf:Gn41 Cen}tr                      ,tooe- u..e',                    44 Le, . IL de l -~4 4Zla~fe 'A-


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          _Cj~4Ql+~Se /                    7fti_e~~dS, 44lf gci"41 lcmewle-                                   6 r -A            ub        4n~ ,'4l nSIG -0 -r S er16r ,S          h 4Q-,

                   GteS_~~ie-~roµ3c~,E /~?carne✓ dr✓                                                :anG~     E.•.tel. The                  chew         bc.... ,~o~lf the

             uri         _f7rg            tTMaS_ e iG~.Sec~ci~ao✓a 4n~ he a Suli,'                                       i`           rn~         tS S~clet          T!+•`s r~'Sk 4,4

      I n d :5 G N _                          ;n       ~rv4s: vg e                                  ee,+ 4c o.ay                                              hSe✓vel. x nc/urn:

                                             ,`n               h4:Ue~enn esse~. ~,                          sG./' J,.,./f of Ae 3,,,6Sl4nf.4I ✓,'Sk d                          Si°r,bn

         4r        `n           G✓           •. L ~wG,s !a n c~ T/'ou,5r141 e._Z[,_ : Lz er Goi ~ecl: ar.4! Ge•~~u~ n um                                           o uS ~ n       CGS

      ` ch4d,                        :n ,`                 r                             3      R          ve Su         erGat Sc?✓;ouS                  54ulfS in 't<          ener
                                                                                                                                                  [
                         i0                 GG          :V ,G InG Lc                 TY        of       Tc~n         Gcrr            %!     l Gen~P✓ q~e enal4.ztS QG7~c'ol

      End C on l,^-e-5 O rG                                    e             1, be-de-
                                                                                                                                                               /

                                                                                                                                             f7J core c_v G -7,7e-L 4,qd

          u        ctl               L3E~-mac/'/C~1f~G.             I-
                                                                    - Ef             a         4nfS Lade,/                                cAe.S 4d,      4•1 f•d iGlc     -khe.


                                          ~i.S ct/'            e
      rG•(t-s GCE I.                                       G A04T ~.            C. Sc~b.irV.n1~,` ! ~~               i/1        ~Ps~oM~/` M41~e 1/:G P../~GL~ %✓1 GG~'~

         ;v.G nGt                K~ Tro~,5rl~le Tu~n~.G                                       i:a       G         fei.         )f'I cc e-SL41 o { he,`✓ o1e1,6er4fe

                                          Iga"n                     -I      #1,33161.;- L✓k5               v.`G          •r          :n0-14                               S 4u13~

                  rG~be              Gh .5r~lt2Gly ~.-~ cvl,.~/1                          1     ntf;          u S             •~~eola.+c                G:     lj4 ck i ndui

                  h4            a )de the,                           a       he 6ei gic,,-nj accu rrenc s Cs n p+ ' nc,' en is of e s c✓: b e                                        ave_

                  e,     6                            eC:v.'G Z,                 n            ow5      !      urn               rr         ir•n

         G                  /                              ✓                %n', DIY/ ✓a-cl


              &          oo k1golAr,11 ( ,, n7 ,                                              / Tre,,,sdalB Turne/Cyr:cGl,'on{! GBn G/ W454E
                                                                                         .ILo/G

              ~L    GWri . C.G ✓e G :1/.e-                                   ✓'ri,..c5GlT.le 7",-4 e- COr/e-G .`on ! Cen fG/ G<GT~i ~4s~.~S /'t                                      ✓C..


                                                                             r ;m r©ve: lL                  ✓c:n,'               Ake"" e.•+ o yes. Tkey ha✓ e

        4.`1ed fo ilronrcva fhe;r Lve.u.v6,i

-             F1L1_~ ._LG       S G rGsul             Gl                 e, £fs , Lv -57, 6a        cl Ae- Arek-fs A"                       i-c- p14;n4, A         7ki        s J,, ~

      Li 5 d esce dd ;,1 fti •:s poi., v                                                                                              "I A. ,`s

              ,                       n       TG                   le-     u✓            GGr           ;a,n~/            n           1n ~o~: :on cl~.ce-f~ Grimm
                                                                                                                                                  .41
                   Inc-, n                       w                   1.~✓                       ion          ¢.-4"5 c            end
                                                                                                                                 '                      !'
                                                                                                                                                        A aked,                 ;i

                                                           u                    eeJ                           CL,. 4e.                                       14•%t4,`lr jC Tkc,.%45
                                                                                                                                                                      /
                       Gr              1" e-          nd                     "l Q C re                        TnG•            4G:/:         ein't

    Case 3:19-cv-00817                                Document
                                                          14, K 1
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                                                                                                                       v.`G rnG  Ci n                                         ke,
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          r u. cl~/c• Tyr a/ c:.~ti'ec~.cH.                                     ee.z,Fe>-       a e.z~lan s

                  ri             T                                `G       SG ;           h t            i 6I ie-     1/; 6141-e-5 *AC.       14~`/!'!~; T7 S 1"414X.


               aw+riS t1 3~1G7aZ rr;ihf5 Lw.ncle.! fhe GanS~%/K~:Gn u~~ /4ri5 GF ~hG un%~eo1 5~-~s~e-S. TI•..J

                                                            ; True-      n~_tCGc.scic/e Ti~rnrli ec~•~n G/e/ Ol~~enc/4~. f                                     fAa.`r

                       [o a                 1.✓!i       .S Gleatl                  5 (* inac/       i....ttGG ncf l.~nGcnS~.if*-c~{~~n41 C2S Jart,S~ ~-G


                             '              4 2              n     t6~eG1F•o✓).-T i .'S l:/Cgt           1k4f 4S 1G., *i            14%nI%if Thames ;n—


             ~L                      `•'i           are L; ✓.G lrnc ~.nat Trousd~le Tr..rne/Gartet~:6                          !G   iGcr fkaSL 6~e•~~d4nfS w;//


                    ,'vl u             G        %lti ~l~l;S2tc~f2 ,'ri cl, t'teC~w~G ~ Gnc/ V •Glee f~l~%n~ ~ C~ S.h~-.S•




                                                                           y _Al-
                       1 4;nl,              . Tk mn.4-s WkS e/ n:                   ei P&t eon%      U! Owef¢ur.~'f` TG ,^G•'sG / lese" d- A s


         Ian             a           G/r`GuS                       nG~ ,       t+5~✓+        G; 415 o/     %ee ,ik~       l4%n¢•`Ff C        /o )G/   ri ,8✓4nGe.


          G/)^'I~~~1i(.~`__-ru•1iY► k QH~                                                                     ~~,_, 1~''cr+.7~i v
                                        G<P.H iA< ~~'+~JIOyIC~ ~l4•n~~1F'~Cc E'Yt-E4„~ ~u/ lcH~ 7E•i+'+Gt!' !~i)/Je,
                                ~

    _          ;SE' ~;5 G1 4%/+~ 5. ~N.t.c%/.i1.~n~Plk-n'f%~ WGeS~tGve.-.~e.~ by 4;l~tw~w.f~G.nG63 o..cf o'1' /i.5 Geinitlri/

               _CGGG55 G.n~ sr sl m%I 6i Str GYk.±GG. Q                                 LCl Lev.s •C/ 7tG(kSGP4/Q Tf.. rre G+/ c6,-,


    6_
         L rje- wed Ak4i1464e. Se!S_:.s~/+cC tf~'/                                                                n~Gar./o~ILo~Y~n~/~14%Jt~.tr                    tiE'(i4r+GG


_   --    a   te✓), /an.~                           'f :,     7-koin430SIC 7.;-' Grt            f      al`~f/':eG~.Su,jM:~"~;ii~ C{. ~liG✓4nG4' •~ TkG


             Y. t:✓anG~ Ghk./J~tf                                  S                     .d she te4'used ;4- be454-se "t &.,4.4
                                                                         r L.G (,~ ~C/ (~e.

                                                                           C}. c        C, vi GO     wly bet      14:✓1 14If        4•I7 ', ykaI lf/45 -f'i -onl •

               Al                                                                  }a rYt e • S1a G 5cc•/c hem /tehcP4n~ Sk.`c/ Y ~/1 ~!r'                 Yc ~•e a.se a.


                             (key A W 4                      £p+rt r-      e-11 d" 1" 4ng ne,            GS2OV&     hr         Thr..4 a.,,            I-

             t ~ r✓I             PST• ~t G ✓l G/ 1?s i alrcfa/x.(l                                                                  ~G/ /7 rGSUrL`
                                                                                        t W„CI+ flame T laG GGri+r+~.SS:c,ae / QCt/lGG                            iz) y

                ;Ih~'v.1 Gn                                 / 1(~~a~l i        ~4 n~          tia~G Ct SkP~r► Bnf O{/3e•n5 fiSSlc.t~e%1ZG/

-   --         ~~t~rn:{ L.nr~_rL~~tn..~.£~~GfC'•c:~•Vfi~t~b~E{.nG~ /b:ls.1~ '/"lodf ~'f4~C/'»c~~".-/tta/~~y~A~tc~/+.~J

             --asUi4trm                 A,-an.-7~L_e_ p 4 Lyl J.'4f 6Y14                                               GC, 6CY'3n14,/l AnDl/Y.

                       e ]enne5~c~~l f~crne, ~~n~                                                           0 ~Ss+.•tsjcl~.vnS.. The.1 on l.~3/ oI
                                                                                         Jve-se.,4%o) Pla:n44,
                                            o   to          ke.    TGG     e, otn of A:,'41 S                                                         a        g-t -~

    Case 3:19-cv-00817
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                                         Filed 09/16/19
                                               '                                                                  Page 13 of
                                                                                                                          't.18
                                                                                                                              bePageID   #: 13
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                                                 _resenf.'n< rhy i53ues ~Gla%r ►► S. Then c.~ _/3~/                                           ~l            l4%nf: ~{


  L~-y 1w z~3 l~ j1671. rvt4 /e~ /~ Wii~de:~ Wk3tiburn A Lao. ~4:~/. 'Ole, -e- e.
        .S.G. Grim ~lg%nf b✓43 /3 e:n~ F•7ed Sef /„~ Gu-f' fk~ 9ra~...ds/Gl ,`rr oi- ,tko- Gcr~i )1 %H .. Them

  414 q                 f L11 aolq                     wraEe- a , ILe emen u                             e.          SS k         eo/ 8 No~•~e G~"                     a/en~.'c1

  L     em R Xwgsd Pel                           ro ec •'ve. Gud/C                       e. Tl4n3~relred To r1)c[                    44c;ie                            Ait4;lel

   ~i                     ~Gw~e.+       ~i"C/~t ~ ~- o            ke,     ~ dale Tc.~:nc! Go!leG.fron 1 Lere                                  5 G/aStr` .G¢7~io


            • ~'        i r1 /'G/ ~TCGG ~ !M; ~1r`liIK.sG✓t,..~s~                    o-i i o~         j214 ,'A %C-                .?GTe;K414,4 G                r;S         lc.s ✓6


                                      Of 2UW—    G~~%Gva a! 17eG14~h/CrY QldGr                               "l      1 %nf r`            r It d         i 6- Tl)GG


                          iTejm                  tkee4PL                                         Cry          l :.5 n o       c:a1S fkeeil                  Ives       )r      vevi G

    r. one:.!                          Cew"      i           ti                 vc nc e raeeeCur41 I e ~.:le n •e.i                                     he locedurk l



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             Ll/          4k     eL                                 L   4-G 1414                 7&4                  T-            G.l       .'~4GK dT1FsGr`4'15 Td


        i                'hn.           i lilnGt'i .                      !t    h        eve•                .i► u¢;G.<-51        ie.,~~5v~4n/~ar~4•%ed ~o do




                                 Ia EFWL&F-L.16 F.
                                                            eS e          u                              `►:         ur             r jud vne+a                   4N



   ). Tk4                       g, o~e&ndcr           e, toy.u:red fa 4 11 wPfh.3 Gcjr-)Il.inf Lv_i :                                    tie.• :rise.           u-rC

                   cl     !c,     io            Me jgcfj                   ;ss;r,                u.                           la{         14%.+ .       s        .` ia,~s       ti




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                                                 ec     ;ve                     4 jvi f      14,n¢%           nod b --ia~ A cv,..ed                             d      r-v/e-c crl

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Case 3:19-cv-00817                              Document 1                Filed 09/16/19                     Page 14 of 18 PageID #: 14
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      Case 3:19-cv-00817              Document 1            Filed 09/16/19           Page 15 of 18 PageID #: 15
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        Case 3:19-cv-00817            Document 1           Filed 09/16/19         Page 16 of 18 PageID #: 16
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Case 3:19-cv-00817   Document 1   Filed 09/16/19         Page 17 of 18 PageID #: 17
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Case 3:19-cv-00817   Document 1   Filed 09/16/19        Page 18 of 18 PageID #: 18
